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Diamond Comics Distributors, Inc                                                                                           Case No. 25-10308
AR Aging                                                                                                                              Mar-25

      Consolidated
Diamond Comic Distributors,
                                   ALL            CURRENT           0 TO 30              31 TO 60         60 TO 90          OVER 90
          Inc

GAMES                                6,759,824        3,604,217          1,330,079              271,298          323,616          1,230,614
COMICS - NON REMIT                  20,792,650        6,876,616          1,632,524            1,001,332          713,333         10,568,846
COMICS- REMIT                        6,469,357        4,587,454            117,564              639,430          380,677            744,233

TOTALS                              34,021,832       15,068,286          3,080,167            1,912,060        1,417,626         12,543,693
